




PER CURIAM HEADING




		NO. 12-03-00180-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



JUSTIN THOMAS JONES,§
	APPEAL FROM THE 402ND

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	WOOD COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant has filed a motion to dismiss this appeal.  The motion is signed by Appellant and
his counsel.  No decision having been delivered by this court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered July 23, 2003.

Panel consisted of Worthen, C.J., Griffith, J., and DeVasto, J.















DO NOT PUBLISH



